Case 21-04019-KKS Doc13-10 Filed 07/22/21 Page 1 of 2

FLNB Local Form 5

Exhibit Tag/ Cover Sheet

Party submitting: Plaintiff Ex.4 “1

Admitted: Yes or Ne (circle one)

Debtor: Julian Rodney Rooks Jr.

 

Case No.: 21-40139-KKS

 

 

 

Adv. No.:

Nature of Hearing/

Decket Na:

Dated 07/22 , 2021.

 

By: ,» Deputy Clerk
Case 21-04019-KKS Doc13-10 Filed 07/22/21 Page 2 of 2

Action Financial Services, cee

dbo APCS, LLC in Connecticut, Delaware, fowa.
Michigan, Texas & Washingion

P.O. Box 3250. Central Point, OR 97502 Collector Name: Nichole Liddell

Collector Phone: 888-253-4239
Main Line: 888-253-4239

September 6, 2018 om?
JULIAN ROOKS SR LCEB-

3648 DARTFORD LN Qh
TALLAHASSEE, FL 32311-7773

“ie

Re: Action Financial Services, LLC (AFS)}

Claim of KEY BANK USA - KER - 4TH FLOOR
Account No: @iie44990

Balance: $ 227,211.83 as of: September 6, 2018

Dear JULIAN ROOKS JR:

You have requested validation of your obligation. Enclosed is a copy of the document(s) that will establish the validity of ‘your
debt.

We will hold your account for ten (10) days from the date of this letter to give you the opportunity to evaluate this information
and to make arrangements to repay this obligation.

Failure to respond within the allotted time may result in your account being referred back to the U.S Department of Education
for litigation through the U.S. Department of Justice. The Internal Revenue Service may also be authorized to withhold any
income tax refunds.

As of the date of this letter, you owe the balance reflected. Because of interest and other charges that may vary from day to day,
the amount due on the day you pay may be greater. Hence, if you pay the amount shown above, an adjustment may be
necessary after we receive your check, in which event, we will inform you. For further information on your balance, write to
AFS or call toll-free 888-253-4239,

This communication is from a debt collector. This is an attempt to collect a debt and any information obtained will
oe used for that purpose.

if you shouid have any questions with regard to this matter, you may contact:

Action Financial Services, LLC (AFS)
P.O. Box 3250

Central Point, OR 97502
888-253-4239

Enclosure: Copy of Debtor Establish Validity Debt

SEE THE REVERSE SIDE FOR IMPORTANT INFORMATION.

ED-FSA+14-D-00) Q/ED/LS9H/AFS
